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                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ANTHONY BUZZELLI and LORRAINE                                 CIVIL ACTION No. 2:20-cv-000425-AJS
 BUZZELLI,

                                  Plaintiffs,

                        v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,                                                  JURY TRIAL DEMANDED

                                  Defendant.


               MOTION FOR ADMISSION PRO HAC VICE OF ANDREW L. REISSAUS


               Andrew        L.   Reissaus,     Esquire,   undersigned   counsel   for   Defendant   Novartis

Pharmaceuticals Corporation, hereby moves that he be admitted to appear and practice in this

Court in the above-captioned matter as counsel pro hac vice for Defendant Novartis

Pharmaceuticals Corporation, pursuant to LCvR 83.2 and LCvR 83.3 and this Court's Standing

Order Regarding Pro Hac Vice Admissions dated May 31, 2006 (Misc. No. 06-151).

               In support of this motion, undersigned counsel has attached the Declaration of Andrew L.

Reissaus, Esquire, filed herewith, which, it is averred, satisfies the requirements of the foregoing

Local Rules and Standing Order.

               WHEREFORE, Defendant Novartis Pharmaceuticals Corporation respectfully request that

this Honorable Court grant the within Motion for Admission Pro Hac Vice of Andrew L. Reissaus,




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Esquire and enter an Order granting the pro hac vice admission of Andrew L. Reissaus, Esquire

on behalf of the Defendant Novartis Pharmaceuticals Corporation in the above-captioned matter.

JURY TRIAL DEMANDED

                                           Respectfully submitted,

                                           HOLLINGSWORTH LLP




                                     BY: ______________        ___________
                                        Andrew L. Reissaus, Esquire
                                        (Applicant for admission pro hac vice)

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                                         Attorneys for Defendant




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                                      CERTIFICATE OF SERVICE


               I hereby certify that a true and correct copy of the foregoing document has been served
upon the following individuals on the date and in the manner indicated below:
                                    U.S. First Class Mail
                                    Hand Delivery
                             _____ Certified Mail, Return Receipt Requested
                             _____ Facsimile Transmittal
                             _____ UPS Delivery
                             _   __ Electronic Mail
                             __X__ VIA Electronic Filing / Service
at the following address:


                                         W. Steven Berman, Esquire
                                          Napoli Shkolnik PLLC
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                                            Marlton, NJ 08053
                                          (Counsel for Plaintiffs)


                                                      HOLLINGSWORTH LLP



Dated: May 21st, 2020                                    By:_________________      __
                                                       ANDREW L. REISSAUS, ESQUIRE




{W0187514.1}
